                           Case 8-18-78239-las              Doc 26        Filed 12/20/18           Entered 12/20/18 13:46:07


 Fill in this information to identify your case:

                      JULIA                                           ROSALES
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                         Eastern District
 United States Bankruptcy Court for the: __________ District   ________
                                                          ofofNew York
                       18-78239
 Case number           ___________________________________________
  (If known)                                                                                                                                Check if this is an
                                                                                                                                            amended filing


          106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      ✔    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1    HECTOR SANDOVAL                                                                  USE AND OCCUPANCY!
      _____________________________________________________________________
      Name
                                                                                        78 ORMONDE BLVD!
       78 ORMONDE BLVD                                                                  VALLEY STREAM, NY 11580
      _____________________________________________________________________
      Number     Street
       VALLEY STREAM                    NY          11580
      _____________________________________________________________________
      City                         State   ZIP Code

2.2   ELMER CRUZ                                                                        USE AND OCCUPANCY!
      _____________________________________________________________________
      Name
                                                                                        78 ORMONDE BLVD!
      78 ORMONDE BLVD                                                                   VALLEY STREAM, NY 11580
      _____________________________________________________________________
      Number     Street
      VALLEY STREAM                     NY          11580
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of ___
                   Case 8-18-78239-las                  Doc 26   Filed 12/20/18     Entered 12/20/18 13:46:07

            JULIA                                            ROSALES                                 18-78239
Debtor 1     _______________________________________________________               Case number (if known)_____________________________________
             First Name   Middle Name       Last Name




            Additional Page if You Have More Contracts or Leases

      Person or company with whom you have the contract or lease                What the contract or lease is for

2._
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2._
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2._
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


2._
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



                                        Schedule G: Executory Contracts and Unexpired Leases                                  page ___ of ___
